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                                 Myeloperoxidase Serves as a Redox Switch that Regulates
                                 Apoptosis in Epithelial Ovarian Cancer

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                                 Abstract
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                                      Objectives—Resistance to apoptosis is a key feature of cancer cells and is believed to be regulated
                                      by nitrosonium ion (NO+)-induced S-nitrosylation of key enzymes. Nitric oxide (NO), produced by
                                      inducible nitric oxide synthase (iNOS), is utilized by MPO to generated NO+. We sought to
                                      investigate the expression of myeloperoxidase (MPO) and iNOS in epithelial ovarian cancer (EOC)
                                      and determine their effect on S-nitrosylation of caspase-3 and its activity as well as apoptosis.
                                      Methods—MPO and iNOS expression were determined using immunofluorescence in SKOV-3
                                      and MDAH-2774 and EOC tissue sections. S-nitrosylation of caspase-3 and its activity, levels of
                                      MPO and iNOS, as well as apoptosis, were evaluated in the EOC cells before and after silencing
                                      MPO or iNOS genes with specific siRNA probes utilizing real-time RT-PCR, ELISA, and TUNEL
                                      assays.
                                      Results—MPO and iNOS are expressed in EOC cell lines and in over 60% of invasive EOC cases
                                      with no expression in normal ovarian epithelium. Indeed, silencing of MPO or iNOS gene expression
                                      resulted in decreased S-nitrosylation of caspase-3, increased caspase-3 activity, and increased
                                      apoptosis but with a more significant effect when silencing MPO.
                                      Conclusion—MPO and iNOS are co-localized to the same cells in EOC but not in the normal
                                      ovarian epithelium. Silencing of either MPO or iNOS significantly induced apoptosis, highlighting
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                                      their role as a redox switch that regulates apoptosis in EOC. Understanding the mechanisms by which
                                      MPO functions as a redox switch in regulating apoptosis in EOC may lead to future diagnostic tools
                                      and therapeutic interventions.

                                 Introduction
                                                    Apoptosis is a tightly regulated molecular process that removes excess or unwanted cells from
                                                    organisms. Resistance to apoptosis is a key feature of cancer cells and is involved in the


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                                 The authors declare that there are no conflicts of interest.
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                                                pathogenesis of cancer. We have previously reported that epithelial ovarian cancer (EOC) cells
                                                have significantly increased levels of nitric oxide (NO), which correlated with increased
                                                expression in inducible nitric oxide synthase (iNOS) [1]. We have also reported that EOC cells
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                                                manifested lower apoptosis, which was markedly induced by inhibiting iNOS by L-NAME,
                                                indicating a strong link between apoptosis and NO/iNOS pathways in these cells [1]. Caspase-3
                                                is known to play a critical role in controlling apoptosis, by participating in a cascade that is
                                                triggered in response to proapoptotic signals and culminates in cleavage of a set of proteins,
                                                resulting in disassembly of the cell [2–5]. Caspase-3 was found to be S-nitrosylated on the
                                                catalytic-site cysteine in unstimulated human lymphocyte cell lines and denitrosylated upon
                                                activation of the Fas apoptotic pathway [6]. Decreased caspase-3 S-nitrosylation was
                                                associated with an increase in intracellular caspase activity. Caspase-3 S-nitrosylation/
                                                denitrosylation is known to serve as an on/off switch regulating caspase activity during
                                                apoptosis in endothelial cells, lymphocytes and trophoblasts [7–10]. The mechanisms
                                                underlying S-nitrosothiol (SNO) formation in vivo are not well understood.

                                                Myeloperoxidase (MPO) typically uses hydrogen peroxide (H2O2), in combination with
                                                chloride to generate hypochlorous acid [11–14]. We, and others, have demonstrated that MPO
                                                utilizes NO, produced by iNOS, as a one-electron substrate generating NO+, a labile nitrosating
                                                species that is rapidly hydrolyzed forming nitrite (NO2−) as an end product [15–18]. The ability
                                                of MPO to generate NO+, from NO, led us to believe that not only does MPO play a role in S-
                                                nitrosylation of caspase-3 in EOC cells, but also highlights a possible cross-talk between iNOS
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                                                and MPO. In this study, we tested the hypothesis that MPO is responsible for the S-nitrosylation
                                                of caspase-3, which led to the inhibition of caspase-3 in EOC cells. Silencing MPO gene
                                                expression induced apoptosis in EOC cells through a mechanism that involved S-nitrosylation
                                                of caspase-3 by MPO. We also analyzed the expression of MPO in epithelial ovarian carcinoma
                                                specimens and compared it to its expression in normal ovarian epithelium.

                                   Methods
                                   Cell lines and cell culture
                                                The human EOC cell lines, MDAH-2774 and SKOV-3, were obtained from American Type
                                                Culture Collection (ATCC, Manassas, VA). Cell lines were cultured in 75cm2 cell culture
                                                flasks (Corning Incorporated, Corning, NY) with McCoy’s 5A medium (Invitrogen, Carlsbad,
                                                CA) supplemented with 100 U/mL penicillin and 100μg/mL streptomycin including 10% heat-
                                                inactivated FBS at 37 °C in 5% CO2. Culture medium was replaced every two days. For each
                                                experiment, cells were plated in 60 mm × 15mm cell culture dishes at a cell density of
                                                approximately 2 × 106 cells per dish. All experiments were performed in triplicate.

                                   Transfection of siRNA for iNOS and MPO
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                                                Cells were maintained in McCoy’s 5A medium supplemented with 100 U/mL penicillin and
                                                100 μg/mL streptomycin including 10% heat-inactivated FBS at 37 °C in 5% CO2. For siRNA
                                                transfection, cells were grown to a confluence of 30% to 40% in 12-well plates (BD Bioscience,
                                                Franklin Lakes, NJ) and transfected with the use of 3 μL NeoFX reagent (Ambion, Austin,
                                                TX), 2 μl of 20 μmol siRNA, and OptiMEM medium (Invitrogen) up to a final volume of 100
                                                μl. Neo FX reagent and siRNA were incubated at room temperature for 10 minutes and then
                                                applied onto 1.0 × 105 cells per well. Transfection mixtures were incubated with cells for 24
                                                hours before washing cells with medium and incubated for an additional 24 hours. Experiments
                                                were performed in triplicate for each of the 2 cell lines.

                                   siRNA design, synthesis, and labeling
                                                SiRNAs were designed after determination of target sequences by aligning iNOS and MPO
                                                sequences to an Ambion web-based algorithm. The 21-nucleotide duplex siRNA molecules


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                                              with 3-dTdT overhangs were re-suspended in nuclease-free water according to the instructions
                                              of the manufacturer (Ambion). To ensure stringent controls, both a 2A-based mutated control
                                              siRNA with 2 nucleotide mismatches (siRNA-2Amut) and a scrambled control sequence
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                                              (siRNA-SCR) obtained from Ambion (Silencer Negative Control No. 1 siRNA) were used.

                                   Real-time RT-PCR
                                              Reverse transcription—A 20 μL cDNA reaction volume was prepared using the
                                              QuantiTect Reverse Transcription Kit (Qiagen), as described by the manufacturer’s protocol.

                                              Real-time RT-PCR primer design and controls—Optimal oligonucleotide primer pairs
                                              for real-time RT-PCR amplification of reverse-transcribed cDNA were selected with the aid
                                              of the software program, Beacon Designer (Premier Biosoft Int., Palo Alto, CA). Human
                                              oligonucleotide primers, which amplify variable portions of the protein coding regions, were
                                              used. Sequences of the oligonucleotides used for amplification of iNOS, MPO, and β-actin
                                              mRNA are as described in Table S1.

                                              Quantitative RT-PCR was performed using a QuantiTect SYBR Green RT-PCR kit (Qiagen,
                                              Valencia, CA) and Cepheid 1.2f Detection System. RT-PCR was performed in a 25 μl total
                                              reaction volume including 12.5 μl of 2 × QuantiTect SYBR Green RT-PCR master mix, 3 μl
                                              of cDNA template, and 0.2 μM each of target specific primers designed to amplify a part of
                                              each gene. To quantify each target transcript, a standard curve was constructed with serial
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                                              dilutions of standard plasmid (Invitrogen). The PCR reaction was performed as follows: first
                                              at 95 °C for 10 minutes, and 40 cycles of 95 °C for 15 seconds and different annealing
                                              temperature. After RT-PCR, a melting curve analysis was performed to demonstrate the
                                              specificity of the PCR product as a single peak. A control, containing all the reaction
                                              components except for the template, was included in all experiments. The amount of mRNA
                                              was then normalized to the abundance of a housekeeping gene, β-actin. To evaluate the validity
                                              of using β-actin as an internal standard and changes in the amounts of β-actin, mRNA was
                                              tested as an external standard. Subsequently, the normalized values of the mRNA were divided
                                              by those in controls. Student’s unpaired t test was used for group comparisons.

                                              RT-PCR reaction conditions were programmed as follows: An initial cycle was performed at
                                              94 °C for 5 minutes, followed by 35 cycles of denaturation at 94 °C for 1 minute, annealing at
                                              56 °C for 1 minute (for iNOS), 60 °C for 1 minute (for MPO), and 58 °C for 1 minute (β-actin).
                                              This was followed by a final cycle at 72 °C for 7 minutes to allow completion of product
                                              synthesis.

                                   Immunohistochemistry
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                                              Cells in Culture—Culture cells were grown on a Lab-Tek Chamber slide (Sigma Chemicals,
                                              St. Louis, MO) overnight at 37 °C. The cells were washed briefly with phosphate buffer saline
                                              solution (PBS) and fixed with 3% paraformaldehyde for 30 minutes followed by washing with
                                              PBS three times. Cells were blocked with 1% bovine serum albumin (BSA).

                                              Slides were incubated with the FITC-conjugated iNOS and Texas Red-conjugated MPO
                                              antibodies (mouse anti-iNOS monoclonal antibody; BD Bioscience, rabbit anti-
                                              myeloperoxidase polyclonal antibody; Abcam, Cambridge, MA) diluted at 1:100 ratio for 1
                                              hour at room temperature. The cover slips were mounted on the slide with a drop of mounting
                                              medium containing DAPI (Invitrogen), sealed with nail polish and stored in dark at 4 °C. Slides
                                              were examined with the Axiovert 25 inverted microscope (Zeiss, Thornwood, NY) using DAPI
                                              (blue), Texas red (red) and FITC (green), fluorescent filters with excitation and emission
                                              wavelengths of 365 and 445, 470 and 525, and 596 and 613 nm respectively. Images were
                                              taken using the Axiovision software (Zeiss) and a microscope-mounted camera.


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                                               Tissue sections—Twenty benign ovarian tissues specimens, obtained from cases who
                                               underwent salpingo-oophorectomy for benign uterine pathology, and 20 invasive epithelial
                                               ovarian cancer cases retrieved from archival materials from the Detroit Medical Center/
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                                               Karmanos Cancer Center pathology department. Case distribution by FIGO stage was as
                                               follows: 10 were stage I and 10 were advanced stage disease (III or IV) at diagnosis. H&E
                                               stained slides from each case were reviewed for validation/confirmation of diagnosis and
                                               histology by one of the authors (RAF). The histological diagnoses were as follows: 10 high
                                               grade serous carcinomas; 5 low grade serous carcinomas, 4 grade 1 endometrioid and one grade
                                               1 mucinous cacinomas. The mean age of the 20 patients was 68 (range 38 to 89 years). After
                                               deparaffinizing and hydrating with phosphate-buffered saline (PBS, pH 7.4), the sections were
                                               pretreated with hydrogen peroxide (3%) for 10 minutes to remove endogenous peroxidases
                                               and incubated in goat serum for 10 minutes. A primary antibody for MPO (Dako, Denmark,
                                               A0398) and a primary antibody for iNOS (Santa Cruz, Santa Cruz, CA, sc7271) dilution (1:100)
                                               was then applied to each sections, followed by washing and incubation with the biotinylated
                                               secondary antibody for 10 minutes at room temperature. Detection was performed with AEC
                                               and counterstaining was done with Mayer’s hematoxylin followed by mounting.

                                               The expression of MPO and iNOS were assessed based on the presence of cytoplasmic staining.
                                               The scoring was assigned based on the percentage of positive epithelial cells: a zero score
                                               assigned for cases with no cytoplasmic staining in any cells; score 1 with <5% of cell staining
                                               positive; score 2 with 6–30% and score 3 with >30% of cells staining positive. For statistical
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                                               analysis, cases with score 0 or 1 were considered as being negative and cases with score 2 or
                                               3 as positive.

                                   Caspase-3 activity
                                               Chemicon’s Caspase-3 Colorimetric Activity Assay Kit (Chemicon, Temecula, CA) was used,
                                               which provides a simple and convenient means for assaying the activity of caspases that
                                               recognize the sequence DEVD. The assay is based on spectophotometric detection of the
                                               chromophore p-nitroaniline (pNA) after cleavage from the labeled substrate DEVD-pNA. The
                                               free pNA can be quantified using a spectrophotometer or a microtiter plate reader at 405 nm.
                                               Comparison of the absorbance of pNA from an apoptotic sample with an uninduced control
                                               allows determination of the fold increase in caspase-3 activity (Chemicon). Cells (2 × 106)
                                               were harvested and lysed in 300 μl of cell lysis buffer included with the kit, and concentrations
                                               were equalized for each sample set. Subsequently, 150 μg of cell lysate was combined with
                                               substrate reaction buffer containing 30 μg of caspase-3 substrate, acetyl-DEVD-p-nitroaniline
                                               (Ac-DEVD-pNA). This mixture was incubated for 1h at 37 °C, and then absorbance was
                                               measured with a plate reader (Ultramark, BIO-RAD, Hercules, CA) by detection of the
                                               chromophore p-nitroaniline (pNA) after cleavage from the labeled substrate DEVD-pNA.
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                                               Background reading from cell buffers and substrate were subtracted from the readings of
                                               samples before calculating increase in caspase-3 activity.

                                   Detection of S-nitrosylation of caspase-3
                                               Ovarian cancer cell lysates from the different treatments were immunoprecipitated with anti-
                                               caspase-3 polyclonal antibody conjugated with protein A/G plus agarose beads.
                                               Immunoprecipitated caspase-3 zymogen was released by boiling the beads at 95 °C for 5
                                               minutes. Biotinylated proteins were separated by SDS-PAGE and detected using nitrosylation
                                               detection reagent I (HRP) according to the manufacturer’s protocol.

                                   Measurement of apoptosis by TUNEL assay
                                               Apoptosis of treated and control EOC cells was assessed using the TUNEL technique as
                                               described by the Promega Apoptosis Detection System and as we have previously described
                                               [19,20]. Positive controls were performed by treating cells with DNase I (1mg/ml) in TdT

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                                                buffer for 10 minutes at room temperature before incubation with a biotinylated nucleotide.
                                                The TUNEL system detects the fragmented DNA of apoptotic cells by incorporating
                                                fluorescein-12-dUTP at the 3′ –OH ends of the DNA using the enzyme Terminal
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                                                deoxynucleotidyl Transferase, which form a polymeric tail using the principle of the TUNEL
                                                (TdT-mediated dUTP Nick End-Labeling) assay. Apoptotic cells were visualized using an
                                                Axiovert 25 inverted microscope (Zeiss) using DAPI (blue) and FITC (green), fluorescent
                                                filters with excitation and emission wavelengths of 365 and 445, 470 and 525 nm respectively.
                                                Images were taken using the Axiovision software (Zeiss) and a microscope-mounted camera.

                                   Statistical analysis
                                                Data were analyzed using SPSS 15.0 for Windows. A mixed model repeated measures ANOVA
                                                was used with treatment as the within factor and cell type as the between factor. Paired
                                                comparisons with a Bonferroni correction were used to compare pairs of treatments. Significant
                                                interactions between treatment and cell type were analyzed with independent sample t-tests by
                                                cell type on each treatment. Statistical significance of P < 0.05 is considered significant for all
                                                analyses.

                                   Results
                                   MPO expression in EOC cells and tissues
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                                                The ability of EOC cells and tissues to synthesize MPO and iNOS was investigated. The EOC
                                                cell lines, SKOV-3 and MDAH-2774, were dually stained with antibodies targeting iNOS
                                                (green) and MPO (red). Immunoreactivity showed co-localization of iNOS and MPO (yellow)
                                                in both ovarian cancer cell lines (Figure 1). Similar results were obtained for MDAH-2774
                                                (results not shown). iNOS and MPO expression was upregulated in 70% and 65% of ovarian
                                                cancer tissue sections tested by immunohistochemistry, respectively (Figure 2). There was no
                                                detectable expression for either MPO or iNOS in any of the normal ovarian epithelial tissue.
                                                The immunoreactivity that was observed in normal ovarian tissue sections was localized to
                                                blood vessels.

                                   Silencing iNOS or MPO gene expression increased caspase-3 activity and apoptosis in EOC
                                   cells
                                                We have previously reported that EOC cell lines SKOV-3 and MDAH-2774 manifested a
                                                marked decrease in their rate of apoptosis and significantly higher rate of proliferation [1,21].
                                                The cause for lower apoptosis is not yet known. Caspase-3 activity increased by 161 and 418%
                                                in SKOV-3 and 156 and 446% in MDAH-2774 when silencing iNOS or MPO gene expression
                                                utilizing specific siRNA for iNOS or MPO, respectively (Figure 3). TUNEL assay showed that
                                                these treatments were associated with increased apoptosis in both cell lines (Figure 4).
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                                   Silencing iNOS and MPO gene expression decreased S-nitrosylation of caspase-3 in EOC
                                   cells
                                                Since the activity of caspase-3 depends on the level of its S-nitrosylation, we investigated the
                                                level of S-nitrosylation of caspase-3 in the two cell lines before and after silencing iNOS or
                                                MPO gene expression utilizing specific siRNA. The levels of S-nitrosylation of caspase-3 were
                                                markedly lower in response to silencing either iNOS or MPO, but to a greater extent when
                                                silencing MPO (Figure 5). There was no difference in the intensity between control and
                                                scrambled nonspecific siRNA (data not shown).

                                   Cross-talk between MPO and iNOS gene expression in EOC cells
                                                To determine the relationship between iNOS and MPO gene expression in EOC cells, we
                                                utilized the siRNA technology to silence iNOS gene expression and examined MPO


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                                              expression, and vice-versa. Our results clearly indicate that silencing iNOS gene expression
                                              resulted in a 47 and 36% reduction in MPO gene expression in MDAH-2774 and SKOV-3,
                                              respectively (Figure 6A). Similarly, silencing MPO gene expression also resulted in a 43 and
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                                              42% reduction in iNOS gene expression in MDAH-2774 and SKOV-3, respectively (Figure
                                              6B). There was no difference in MPO and iNOS mRNA levels between control and scrambled
                                              nonspecific siRNA (data not shown).

                                   Discussion
                                              Molecular alterations that lead to apoptosis can be inhibited by S-nitrosylation of apoptotic
                                              proteins such as caspases. Thus, S-nitrosylation conveys a key influence of NO on apoptosis
                                              signaling and may act as a key regulator for apoptosis in cancer cells. It has been known that
                                              the effects of NO on apoptosis are not only stimulatory but also inhibitory as shown in this
                                              study. These paradoxical effects of NO on apoptosis seem to be influenced by a number of
                                              factors. It has been suggested that biological conditions, such as the redox state, concentration,
                                              exposure time and the combination with O2, superoxide and other molecules, determine the
                                              net effects of NO on apoptosis [22]. Also, NO is implicated in both apoptotic and necrotic cell
                                              death depending on the NO chemistry and the cellular biological redox state [22]. We have
                                              previously demonstrated that the EOC cell lines, SKOV-3 and MDAH-2774, manifest lower
                                              apoptosis and have significantly high levels of NO due to the presence of high levels of iNOS
                                              [1,21]. Additionally, it has been shown that MPO can consume NO in the presence of the co-
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                                              substrate H2O2 [16]. Based on these reports we hypothesized that MPO uses the existing
                                              cellular NO to produce NO+, which is the main source of protein S-nitrosylation, specifically
                                              caspase-3 in EOC cell lines.

                                              In this study we detected significant levels of MPO, which was found to be co-localized with
                                              iNOS, expression in both EOC cell lines SKOV-3 and MDAH-2774. We have demonstrated
                                              that 65% of the invasive epithelial ovarian carcinoma specimens we tested express MPO in the
                                              neoplastic cells. The co-localization of MPO and iNOS has been demonstrated by
                                              immunohistochemical studies in cytokine-treated human neutrophils and primary granules of
                                              activated leukocytes [23]. The plasma levels and tissue expression of MPO in gynecologic
                                              malignancies were previously evaluated and it was found that gynecologic cancer patients had
                                              higher plasma MPO compared to control subjects [24]. Using immunostaining, it was also
                                              demonstrated that MPO expression was higher in cancer tissues compared to control [24].

                                              MPO may function at sites with excessive NO levels leading to formation of NO+ and
                                              subsequent inactivation of caspase-3. In this study we found that MPO significantly increased
                                              S-nitrosylated caspase-3, which was accompanied by a parallel decrease in the level of
                                              apoptosis, suggesting a positive regulation of apoptosis through S-nitrosylation of caspase-3.
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                                              Silencing MPO, by utilizing siRNA technology, resulted in a significant decrease in S-
                                              nitrosylation of caspase-3 and increase in apoptosis.

                                              Since resistance to apoptosis is a hallmark of tumor growth, identifying mechanisms of this
                                              resistance such as S-nitrosylation may be a key in cancer progression. S-nitrosylation is
                                              reversible and seemingly specific post-translational modification that regulates the activity of
                                              several signaling proteins. S-nitrosylation of the catalytic site cysteine in caspases serves as an
                                              on/off switch regulating caspase activity during apoptosis in endothelial cells, lymphocytes,
                                              and trophoblasts [8–10]. Targeting MPO may be a potential therapeutic intervention to reverse
                                              the resistance to apoptosis in epithelial ovarian cancer cells.

                                   Supplementary Material
                                              Refer to Web version on PubMed Central for supplementary material.



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      Gynecologic and Breast Cancers in Women After Exposure
      to Blue Asbestos at Wittenoom

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      1
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      Abstract

      Introduction: Animal studies have suggested an associ-                              cancer (standardized incidence ratio, 1.23) increased but
      ation between asbestos and ovarian cancer, and                                      not statistically significantly among the Wittenoom
      asbestos fibers have been detected in human ovaries.                                women compared with the Western Australian popula-
      Sexual intercourse may introduce asbestos fibers into                               tion. Among the Australian Blue Asbestos workers,
      the vagina and to the cervix and ovaries. Occupational                              cervical cancer was twice that of the Western Australian
      cohorts have reported excess mortality from reproduc-                               population (standardized incidence ratio, 2.38), but
      tive cancers, but exposure-response relationships are                               ovarian cancer was less (standardized incidence ratio,
      inconsistent. We examine the incidence and exposure-                                0.65). Women who first arrived at Wittenoom aged
      response relationships of these cancers among 2,968                                 z40 years had an odds ratio of 13.9 (95% confidence
      women and girls exposed to blue asbestos at Witte-                                  interval, 2.2-90.2) for cervical cancer compared with
      noom, Western Australia.                                                            those aged <15 years at first arrival. Women who lived
      Methods: 2,552 women were residents of the town and                                 with or washed the clothes of an Australian Blue
      416 worked for the asbestos company (Australian Blue                                Asbestos worker did not have an increased risk for
      Asbestos). Standardized incidence ratios compared the                               any of the gynecologic or breast cancers.
      Wittenoom women with the Western Australian pop-                                    Discussion: There is no consistent evidence of an
      ulation. A nested case-control design and conditional                               increased risk for gynecologic and breast cancers
      logistic regression examined exposure-response rela-                                among the women from Wittenoom. Ovarian cancers
      tionships.                                                                          and peritoneal mesotheliomas were not misclassified
      Results: Ovarian (standardized incidence ratio, 1.27),                              in this cohort. (Cancer Epidemiol Biomarkers Prev
      cervical (standardized incidence ratio, 1.44), and uterine                          2009;18(1):140 7)

      Introduction
      Mortality studies among women exposed occupationally                                The mechanism of transportation of asbestos fibers to the
      to various types of asbestos have reported increased risks                          ovary is not clearly understood. One hypothesis suggests
      for ovarian (1-5) and cervical (2, 6) cancers. Excess                               passive transfer of fibers via the vaginal canal (11)
      mortality has also been reported for uterine cancer,                                because the transfer of pathogens from the lower to the
      wherein corpus and cervix were not differentiated (7-9).                            upper genital tract has been shown to occur this way (13).
      The number of cases of each cancer was small in most                                This route may also explain any association between
      cohorts and exposure-response relationships were gen-                               asbestos exposure and cancer of the cervix and uterus. To
      erally not shown. Examination of pathologic material,                               further support this argument, tubal ligation has been
      where undertaken, found that some of the ovarian                                    found to reduce the risk for ovarian cancer in several
      cancers were malignant mesotheliomas of the peritone-                               studies (14), including a Danish population based study
      um that had been misdiagnosed (1, 5). Excess breast                                 that followed up 65,000 sterilized women. Compared
      cancer mortality has also been reported among female                                with the Danish population, tubally sterilized women
      asbestos textile factory workers with severe exposure                               have a lower risk for ovarian cancer [standardized
      lasting >2 years (10). No studies have examined                                     incidence ratio, 0.82; 95% confidence interval (95% CI),
      incidence of these cancers among women with asbestos                                0.6-1.0]. There was no effect on cervical cancer in this
      exposure.                                                                           study (15). Alternatively, fibers could penetrate to the
         Asbestos fibers have been found in the ovaries of                                ovary and other genital organs through the mesothelium.
      women whose household contacts worked with asbestos                                    Whatever their method of distribution, once the fibers
      and among Norwegian paper and pulp workers (11, 12).                                have reached the specific organ, disease initiation may
                                                                                          occur in the same way as for the other asbestos-related
      Received 8/12/08; revised 10/8/08; accepted 10/14/08.                               diseases. These include mechanical irritation from the
      Requests for reprints: Alison Reid, Occupational Respiratory Epidemiology, School   fiber leading to scarring or cancer (16) and ‘‘frustrated
      of Population Health, M431, University of Western Australia, 35 Stirling Highway,   phagocytosis’’ whereby the macrophage is unable to
      Crawley WA 6009, Perth, Australia. Phone: 61-8-6488-7091; Fax: 61-8-6488-1188.
      E-mail: Alison.Reid@uwa.edu.au                                                      fully digest the whole asbestos fiber because of its long
      Copyright D 2009 American Association for Cancer Research.                          length resulting in an incessant production of hydroxyl
      doi:10.1158/1055-9965.EPI-08-0746                                                   radicals and reactive oxygen species, which induce cell


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   injury (17, 18). Generation of hydroxyl radicals may be         Table 1. Establishment of Wittenoom resident cohort
   particularly relevant for asbestos carcinogenesis because       (23, 26-28)
   these molecules can modify and damage cellular DNA.
                                                                   5,097 Residents identified from 18,553 records collected
   Inadequate repair of this oxidative damage may lead to
   mutations or DNA strand breaks (19, 20).                          3,885 (76.2%) Traced to an address in Australia between 1991
      The aims of this study were (a) to determine if there          and 1993
   were excess risks for cancer of the ovary, cervix, uterine        3,244 (63.6%) Sent a questionnaire in 1993
                                                                     641 (12.6%) Participating in cancer prevention program
   corpus, and breast among 3,000 women and girls                    (not sent a questionnaire as information already obtained)
   exposed to blue asbestos at Wittenoom; and (b) to                 460 (9.0%) Dead
   examine the potential for disease misclassification by            51 (1%) Permanently departed overseas
   reviewing pathologic material on ovarian, colon, and              701 (13.8%) Untraced
   peritoneal cancers.                                             Following receipt of questionnaires
                                                                     438 Deleted from cohort
                                                                     209 (47.7%) Denied living at Wittenoom
                                                                     22 (5%) Lived at Wittenoom <1 mo
   Materials and Methods                                             152 (34.7%) No details on date of birth or period of residence
                                                                     55 (12.6%) Duplicate records
      Women and Girls at Wittenoom. Almost 3,000                   4,659 Cohort total and status as of 1993
   women and girls were documented to have lived and                 2,173 (46.6%) Returned a questionnaire
   worked at the crocidolite (blue asbestos) mining and              641 (13.8%) Participating in cancer prevention program
   milling town of Wittenoom in remote Western Australia             460 (9.9%) Dead
   over the period of 1943 to 1992. Forty-six per cent were          51 (1.1%) Permanently departed overseas
                                                                     401 (8.6%) Questionnaire not returned
   <15 y when they first arrived (21). The Australian Blue           383 (8.2%) Questionnaire returned to sender
   Asbestos company operated the principal leases and                549 (11.8%) Whereabouts unknown
   mined and milled crocidolite between 1943 and 1966
   when the industry closed for economic reasons. Four
   hundred and sixteen women worked for Australian Blue
   Asbestos, mostly in the company offices, hotel, and shop,
                                                                   residence at Wittenoom. As of the end of 1993, 2,814
   whereas the remaining 2,552 women were wives and
                                                                   (61%) had returned a questionnaire or were participating
   daughters of Australian Blue Asbestos workers or were
                                                                   in the cancer prevention program, 460 (10%) were dead,
   there as government service workers, teachers, and
                                                                   51 (1%) had permanently departed from Australia, 784
   nurses. Tailings from the mine site, rich in crocidolite
                                                                   (17%) had not returned a questionnaire, and 549 (11%)
   fibers, were distributed around the town in an attempt
                                                                   were not traced beyond the date they left Wittenoom
   to contain the red dust, and this process did not cease
                                                                   (Table 1).
   until 1966.
                                                                      People who were related to an Australian Blue
      The Wittenoom workers’ and residents’ cohorts
                                                                   Asbestos worker but were dead, untraced, or did not
   (22, 23) and the women’s cohort (21) have been described
                                                                   respond were assumed to have stayed at the same place
   elsewhere. Employment records provided by Australian
                                                                   and for the same period as the worker. For those
   Blue Asbestos identified 416 women (6% of the work-
                                                                   unrelated to an Australian Blue Asbestos worker, dates
   force) and their dates and places of employment. For the
                                                                   of residence were assumed the same as other family
   residents’ cohort, the following public records were
                                                                   members providing that at least one family member had
   searched (with the percentage of people they identified
                                                                   completed a questionnaire providing this information.
   in parentheses): state primary school records (22%),
                                                                   For all other residents, dates of residence were assumed
   general practitioner and Wittenoom hospital records
                                                                   identical to those listed on the public records used to
   (20%), the state Electoral Roll for the Pilbara region
                                                                   identify the residents. If the wife of an Australian Blue
   (12%), questionnaires sent to former Australian Blue
                                                                   Asbestos worker who was known to have lived with that
   Asbestos workers (14%), and participants in a cancer
                                                                   worker at Wittenoom remained untraced, it was as-
   prevention program (18%; refs. 24, 25). Table 1 shows in
                                                                   sumed that she washed his clothes.
   detail the establishment of the residents’ cohort. Briefly,
                                                                      The residents’ cohort has been continually updated
   5,097 residents who had lived at Wittenoom but who
                                                                   since 1993, and this reflects any difference in numbers
   did not work for the asbestos company were identified (23,
                                                                   shown here from previous reports (23, 26-28). As of 2000,
   26, 27). The residents’ cohort was considered complete
                                                                   there were 2,160 male and 2,608 female former residents
   when it corresponded with the population of Wittenoom
                                                                   of Wittenoom (29).
   recorded at various population census dates (23).
      All former residents traced to an address in Australia          Asbestos Exposure Measurements. Several surveys of
   (n = 3,244, 64%) were sent a questionnaire in 1993, except      dust counts were undertaken by the Mines Department
   641 (13%), who were participating in the cancer                 of Western Australia between 1948 and 1958 using a
   prevention program and on whom the information was              konimeter. In 1966, airborne respirable fibers >5 Am in
   already available (24, 25). The questionnaire ascertained       length were measured in a survey using a Casella long-
   their asbestos exposure experience including place and          running thermal precipitator at the mine site and in the
   dates of residence at Wittenoom, whether they lived with        town (22). Seven more surveys to gauge environmental
   and/or washed the clothes of an Australian Blue                 levels using personal and fixed positional monitors were
   Asbestos worker, as well as demographic characteristics.        undertaken in and around the town from 1973 to 1992,
   Upon receipt of questionnaires, 438 were deleted from           when the town was officially closed (26). Based on the
   the cohort because they denied living at Wittenoom or           results from these surveys, former residents were
   there were no details on date of birth or duration of           assigned an exposure intensity of 1.0 fibers per milliliter


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      (f/mL) of air between 1943 and 1957, when a cleaner mill         were not reviewed in cases described as conventional
      was built, and 0.5 f/mL for the period 1958 to 1966, when        adenocarcinomas arising within the colon (n = 25).
      the mine and mill closed. Assigned values ranged from            Where the report stated ovarian tumor, peritoneal fluid,
      0.5 f/mL in 1966, reducing to 0.010 f/mL in 1992 based           or colonic resection with unusual features, histologic
      on interpolation from surveys using personal monitors.           sections were retrieved and reviewed and additional
      Cumulative exposure (f/mL-y) for each resident was               stains were done as necessary. Sections were reviewed in
      calculated by summing the product of fiber concentra-            15 cases, 9 ovarian tumors, 2 peritoneal biopsies,
      tion for each year and length of time spent at Wittenoom         2 peritoneal fluids, 1 case of peritoneal mesothelioma,
      over the years of residence at Wittenoom, and adjusted           and 1 adenocarcinoma of the colon extending into ovary.
      by a factor of 4.2 [= (24 * 7) / (8 * 5)] to allow for              Statistical Analysis. Standardized incidence ratios
      environmental exposure occurring over 24 h/d rather              were calculated as the ratio of observed to expected
      than the 8-h working shift, which was used to determine          cancers. Expected cancers were calculated in 5-y periods
      the fiber levels (26). Cumulative exposure was calculated        using age, period, and cause-specific cancer incidence
      for the former Australian Blue Asbestos workers by               rates provided by the Western Australian Cancer
      summing the product of estimated fiber concentration             Registry for the period of 1982 to 2006. Expected cancers
      and length of time spent in the job, for all their jobs (22).    were calculated two ways to derive minimum and
      An additional amount was added to reflect 16 more                maximum estimates because of lost to follow-up among
      hours of daily residential exposure and a 2-d weekend.           these women and the almost complete ascertainment of
         Follow-Up and Case Ascertainment. Follow-up of the            cancers in Western Australia (22). To create the minimum
      women from Wittenoom and case ascertainment have                 estimate, all women not diagnosed with a cancer and not
      been previously described (21). All women not known to           known to be dead or to have migrated were assumed
      be dead and not participating in the cancer prevention           cancer-free at the end of 2006, or if they were residents
      program (24, 25) were searched for in the Marriage               of another Australian state or territory to the end of
      Register of Western Australia from their date last known         2002 (except the state of Victoria to the end of 1997). This
      to be alive to ascertain any possible change of name. In         method overestimates person-years at risk. To create the
      addition, birth, death, and marriage certificates of spouse      maximum estimate all women not known to be diag-
      or offspring were also sought in an attempt to obtain the        nosed with a cancer, dead, or migrated were assumed
      wife or mothers’ date of birth and maiden name. Two              cancer-free at their date last known to be alive. This
      hundred and thirty-five women (7% of those previously            method underestimates person-years at risk. Both meth-
      lost to follow-up) were traced by this process. Fifty-six        ods censored women at the age of 85 y if they were not
      women were excluded from the data set because they               known to have a cancer or to have died before reaching
      were resident at Wittenoom for <1 mo or because of               that age. Ninety-five percent confidence intervals were
      insufficient identifying information. The final cohort           calculated assuming a Poisson distribution of the
      consisted of 2,968 women (416 former Australian Blue             observed cases.
      Asbestos workers and 2,552 former residents). At the end            A nested case-control design was used to examine
      of 2004, 556 (19%) were dead, 1,762 (59%) were alive, and        exposure-response relationships between asbestos expo-
      650 (22%) were lost to follow-up.                                sure and cancer incidence with all available matching
         Incident gynecologic and breast cancers were obtained         controls who were born in the same 5-y period and who
      from the Western Australian Cancer Registry for the              were at risk at the time the case was diagnosed.
      period of 1982 to 2006. Cancers diagnosed between 1960           Conditional logistic regression was done to investigate
      and 1982 were obtained by manually searching printed             the association between asbestos exposure and cancer
                                                                       incidence. All gynecologic and breast cancers diagnosed
      computer records of all cancer registrations in Western
                                                                       between 1960 and 2006 were included in this analysis,
      Australia, as well as hospital admission records at all
                                                                       which was undertaken using Stata 9.0 (31).
      public hospitals in Australia. Pathologists throughout
      Australia and state and territory cancer registries were
      sent a list of names of all cohort members and asked to
      search their records. The completeness of cancer regis-          Results
      trations for cancers diagnosed before 1982 is not known;
      therefore, cancers before 1982 have not been included in            Pathologic Review. Among the nine ovarian tumors,
      the standardized incidence ratios. Incident cancers for          the original diagnosis of ovarian serous carcinoma was
      women not resident in Western Australia were obtained            confirmed in five cases, all of which showed negative
      from every State and Territory Cancer Registry via the           staining for the mesothelial marker calretinin. Of the
      National Cancer Statistics Clearing House to the end of          remaining four cases originally diagnosed as ovarian
      2002, except the state of Victoria, which had data               tumor, one showed serosal involvement of the colon by a
      available only to the end of 1997. Cancers were defined          serous carcinoma of ovarian origin, one was confirmed
                                                                       as a borderline ovarian mucinous tumor, one was a
      using the International Classification of Diseases for
                                                                       bilateral ovarian borderline serous tumor, and one was
      Oncology, Second Edition (30).
                                                                       a malignant Brenner tumor. The two peritoneal biopsy
         Verification of Diagnosis. The Western Australian             specimens showed features of adenocarcinoma, consis-
      Cancer Registry was searched for pathology reports on            tent with an ovarian primary. One other case showed
      all women from Wittenoom identified as being diag-               extension of a primary cecal adenocarcinoma into
      nosed with or dying from cancer of the ovary and colon           adherent ovarian tissue. In the remaining three cases,
      and peritoneal mesothelioma. Forty reports were                  two cases were of peritoneal fluid only, both showing
      reviewed by a pathologist (A. Segal). Histologic sections        metastatic adenocarcinoma that could not be further


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   Table 2. Characteristics of cancer cases and noncases among women from Wittenoom for all cancers diagnosed
   between 1960 and 2006
   ICDO 2 code                      Ovarian cancer             Cervical cancer            Uterine cancer            Breast cancer   Noncases

                                      C560 C569                  C530 C539                  C540 C549                 C500 C509

                                         n (%)                      n (%)                      n (%)                     n (%)        n (%)
   Year of arrival at Wittenoom
    1940s                              0                               0                        2 (14)                   6 (6)        109 (4)
    1950s                            7 (44)                          8 (42)                     7 (50)                  39 (41)     1,030 (36)
    1960s                            8 (50)                         10 (53)                     4 (29)                  42 (44)     1,257 (45)
    1970s                            1 (6)                           1 (5)                      1 (7)                    8 (8)        402 (14)
    Unknown                            0                               0                          0                      1 (1)         25 (1)
   Age of arrival at Wittenoom (y)
    <15                              3 (19)                          2 (11)                    2 (14)                   25 (26)     1,190 (42)
    15 to <40                        4 (25)                         10 (53)                   11 (79)                   61 (64)     1,329 (47)
    z40                              9 (56)                          7 (37)                    1 (7)                     9 (9)        269 (10)
    Unknown                            0                               0                         0                       1 (1)         35 (1)
   Duration of exposure (y)
    <1                              11 (69)                         12 (63)                     9 (64)                  45 (47)     1,261 (45)
    1 to <3                          3 (19)                          2 (11)                     4 (29)                  20 (21)       752 (27)
    3 to <5                          1 (6)                           2 (11)                     1 (7)                   18 (19)       430 (15)
    z5                               1 (6)                           3 (16)                       0                     13 (14)       350 (12)
    Unknown                            0                               0                          0                        0           30 (1)
   Cumulative exposure (f/mL y)
    0 9.9                           15 (94)                         16 (84)                   12 (86)                   75 (78)     2,345 (83)
    10 19.9                          1 (6)                           3 (16)                    2 (14)                   16 (17)       289 (10)
    20 29.9                            0                               0                         0                       2 (2)         96 (3)
    30.0 39.9                          0                               0                         0                       3 (3)         36 (1)
    40+                                0                               0                         0                         0           26 (1)
    Unknown                            0                               0                         0                         0           31 (1)
   Cohabit with asbestos worker (residents only)
    Yes                              7 (54)                          7 (54)                   10 (83)                   54 (68)     1,559 (64)
    No                               6 (46)                          6 (46)                    2 (17)                   25 (32)       823 (34)
    Unknown                            0                               0                         0                         0           52 (2)
   Wash clothes of asbestos worker (residents only)
    Yes                              3 (23)                          6 (46)                     4 (33)                  25 (32)       528 (22)
    No                               5 (38)                          5 (38)                     4 (42)                  33 (42)     1,242 (51)
    Unknown                          5 (38)                          2 (15)                     3 (25)                  21 (27)       664 (27)
   Former ABA worker                 3 (19)                          6 (32)                     2 (14)                  16 (17)       389 (14)
   Total                              16                              19                         14                       96           2,823

   Abbreviations: ICDO-2, International Classification of Diseases for Oncology, Second Edition; ABA, Australian Blue Asbestos.


   typed. There was one case of mesothelioma in an                               with 64% of noncases were known to have lived with
   abdominal wall biopsy, confirmed by immunohisto-                              an Australian Blue Asbestos worker. Forty-six percent of
   chemistry and electron microscopy; in this case, it was                       cervical cancer cases among former residents reported
   difficult to determine whether the tumor was arising in                       washing the clothes of an Australian Blue Asbestos worker.
   the pleural or peritoneal cavity. In short, none of the                          Among all Wittenoom women and the former resi-
   specimens had been misclassified and the original                             dents, the incidence of gynecologic cancers, but not
   diagnosis was confirmed in all instances. The borderline                      breast cancer, was slightly higher than that of the
   ovarian tumors were included as ovarian cancers in the                        Western Australian female population, irrespective of
   statistical analysis.                                                         which censoring method used (Table 3). However, none
                                                                                 of these findings were significantly different from the
      Cancer Incidence. There were 145 incident cases of                         Western Australian female population rates. The inci-
   breast or gynecologic cancer among the 2,968 Wittenoom                        dence of breast cancer was similar to that observed in the
   women between 1960 and 2006 (Table 2). There was no                           Western Australian female population.
   difference between cases and noncases in terms of decade                         Among former Australian Blue Asbestos workers the
   of arrival at Wittenoom, but 56% of subsequent ovarian                        incidence of ovarian cancer was less than half of that of
   cancer cases and 37% of cervical cancer cases were                            the Western Australian female population. The incidence
   40 years or older when they first arrived compared with                       of cervical cancer was between 85% and 240% greater
   10% of noncancer cases. Duration of residence at                              than that of the Western Australian population, but this
   Wittenoom differed between women with >60% of                                 increase was not statistically significant and was based
   ovarian, cervical, and uterine cases staying for V1 year                      on only three cases. The incidence of uterine and breast
   compared with 47% of breast cancer cases or 45% of                            cancers among former Australian Blue Asbestos worker
   noncases. Most women had an estimated cumulative                              was similar to that of the Western Australian population.
   asbestos exposure of <10 f/mL-y. Of those women who                              Exposure-response relationships between character-
   were former residents, 83% of uterine, 54% of ovarian,                        istics of asbestos exposure and the four sites of incident
   and cervical and 68% of breast cancer cases compared                          cancer are shown in Table 4. For all sites, the risk


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      decreased with categories of time since first exposure.                         confirmed in all instances. Examination of exposure-
      Those women who had z40 years time since first                                  response relationships showed that the risk for ovarian,
      exposure had a statistically significant lower risk for all                     cervical, and breast cancer were inversely related to time
      cancer sites, except uterine cancer, than those who had                         since first exposure.
      <20 years time since first exposure.                                               Excess mortality from ovarian cancer has been reported
         The risk for cervical cancer increased 2-fold among                          in earlier studies on women occupationally exposed to
      those with the age of 15 to 40 years compared with those                        asbestos, although exposure-response relationships have
      with the age of <15 years when first exposed to asbestos,                       been inconsistent. Two cohort studies on World War II gas
      but this increase was not statistically significant.                            mask workers in England exposed to crocidolite showed
      However, women aged z40 years at first exposure had                             excess mortality from ovarian cancer (1, 2). The excess
      a statistically significant 14-fold risk for cervical cancer                    was greatest among those heavily exposed (standardised
      (P < 0.01) compared with those aged <15 years when                              mortality ratio, 1,481; P < 0.001; ref. 1). Another cohort
      first exposed to asbestos. Similarly, among women first                         of gas mask workers exposed to chrysotile reported non-
      exposed to asbestos aged 40 years or older, the risk for                        significant excesses of ovarian cancer mortality (2). Studies
      ovarian cancer was increased, but not statistically signi-                      on women exposed to asbestos in textile factories or
      ficantly. There was a >2-fold increased risk for cervical                       asbestos cement manufacturing reported a statistically
      cancer among women who were former Australian Blue                              significant excess mortality from ovarian cancer but no
      Asbestos workers compared with those who were former                            consistent relationship with asbestos exposure (3-5, 10).
      residents and a slight increase (30%) among those who                           Female Australian Blue Asbestos workers at Wittenoom
      reported washing the clothes of an Australian Blue                              mostly worked in the company offices, shop, and hotel.
      Asbestos asbestos worker, but neither of these increases                        Their occupational exposure was unlikely to have been as
      was statistically significant. There was an inverse                             high as that reported for women in the earlier cohorts,
      relationship with intensity of exposure and cervical                            which may explain why no excess risk for ovarian cancer
      cancer risk, with the risk being 70% lower among those                          was observed.
      who had an intensity of z2 f/mL compared with                                      Mesothelioma has until relatively recently been diffi-
      those with an intensity of <2 f/mL, (Table 3). Except                           cult to diagnose, and it was particularly difficult to
      time since first exposure, ovarian, uterine, and breast                         distinguish between peritoneal mesothelioma and ovar-
      cancer were not associated with any other measure of                            ian serous carcinoma (32). Peritoneal mesotheliomas
      asbestos exposure.                                                              have also been reported in several of the studies that
                                                                                      reported excess mortality from ovarian cancer. Among
                                                                                      East London factory workers, a review of pathology
      Discussion                                                                      showed that one peritoneal mesothelioma had been
                                                                                      misclassified as an ovarian carcinoma (5). Misclassifica-
      In this study the incidence of gynecologic cancer among                         tion of peritoneal mesotheliomas as ovarian cancers in
      the former Wittenoom women and girls has tended to be                           these studies with so few cases of ovarian cancer would
      higher than among those in the Western Australian                               overestimate any reported effect of asbestos exposure.
      female population. In particular, cancer of the cervix was                      Possible misclassification of peritoneal mesotheliomas as
      two times greater among the former Australian Blue                              ovarian cancers may explain why these earlier studies
      Asbestos workers than among the Western Australian                              reported excess mortality from ovarian cancer. In this
      female population. However, these excesses were not                             present study, we reviewed all pathology specimens of
      statistically significant. None of the ovarian, colon, or                       ovarian and colon cancer and peritoneal mesothelioma
      peritoneal cancer specimens available for examination                           and failed to find any misclassification. If misclassifica-
      had been misclassified, and the original diagnosis was                          tion of peritoneal mesothelioma as ovarian cancers


      Table 3. Observed cases and standardized incidence ratios (95% CI) for gynecologic and breast cancers in
      Wittenoom women, 1982 to 2006
      Cancer incidence                    Ovarian cancer                    Cervical cancer                  Uterine cancer                   Breast cancer

      ICDO 2 code                            C560 C569                        C530 C539                        C540 C549                        C500 C509
      All women
       Observed                                   11                               13                               13                               88
       SIR 1* (95% CI)                     1.05 (0.43 1.67)                 1.21 (0.55 1.86)                 1.01 (0.46 1.56)                 0.90 (0.73 1.10)
            c
       SIR 2 (95% CI)                      1.27 (0.52 2.02)                 1.44 (0.66 2.22)                 1.23 (0.56 1.90)                 1.10 (0.87 1.33)
      ABA workers
       Observed                                    1                                3                                2                               14
       SIR 1* (95% CI)                     0.49 (0.01 2.74)                 1.85 (0.38 5.41)                 0.79 (0.10 2.84)                 0.82 (0.39 1.25)
            c
       SIR 2 (95% CI)                      0.65 (0.02 3.64)                 2.38 (0.49 6.96)                 1.04 (0.13 3.74)                 1.07 (0.51 1.62)
      Residents
       Observed                                   10                               10                               11                               74
       SIR 1* (95% CI)                     1.18 (0.45 1.91)                 1.10 (0.42 1.78)                 1.07 (0.44 1.70)                 0.92 (0.71 1.13)
            c
       SIR 2 (95% CI)                      1.40 (0.53 2.28)                 1.28 (0.49 2.08)                 1.27 (0.52 2.03)                 1.11 (0.86 1.36)

      Abbreviation: SIR, standardized incidence ratio.
      *Minimum estimate censored at the earliest of date of diagnosis, date of death, date at the age of 85 y, or end date of State Cancer Registry follow-up.
      cMaximum estimate censored at the earliest of date of diagnosis, date of death, date at the age of 85 y, or date last known to be alive.



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   Table 4. Characteristics of asbestos exposure and cancer incidence, 1960 to 2006, among the former Wittenoom
   women
   Time since first exposure (y)                <20                    20 to <30                        30 to <40              40+ y
                                                                                                                                         c
   Ovarian cancer                               1.00                0.12 (0.02 0.67)*              0.22 (0.06 0.77)*      0.02 (0.01 0.10)
                                                                                                                   c                      c
   Cervical cancer                              1.00                0.44 (0.15 1.26)               0.07 (0.02 0.27)       0.01 (0.00 0.06)
   Uterine cancer                               1.00                0.32 (0.02 5.08)               0.68 (0.08 5.84)       0.24 (0.03 1.99)
                                                                                                                                          c
   Breast cancer                                1.00                0.86 (0.41 1.88)               0.56 (0.27 1.16)       0.10 (0.04 0.21)

   Intensity of exposure                      <2 f/mL                   2+ f/mL

   Ovarian cancer                               1.00                0.66 (0.24 1.81)
                                                                                    c
   Cervical cancer                              1.00                0.29 (0.12 0.72)
   Uterine cancer                               1.00                2.43 (0.54 10.9)
   Breast cancer                                1.00                0.93 (0.60 1.45)

   Year of arrival                                       1940/50s                               1960s                         1970/80s

   Ovarian cancer                                           1.00                           1.84 (0.66 5.13)                1.43 (0.17 11.9)
   Cervical cancer                                          1.00                           1.61 (0.63 4.14)                0.84 (0.10 6.83)
   Uterine cancer                                           1.00                           0.68 (0.21 2.21)                1.09 (0.14 8.69)
   Breast cancer                                            1.00                           1.22 (0.79 1.88)                1.15 (0.51 2.55)

   Age of first exposure                                    <15                                 15 40                           40+ y

   Ovarian cancer                                           1.00                           0.27 (0.05 1.41)                1.90 (0.35 10.5)
   Cervical cancer                                          1.00                           2.53 (0.53 12.1)                13.9 (2.2 90.2)c
   Uterine cancer                                           1.00                           0.40 (0.07 2.14)                0.11 (0.01 1.44)
   Breast Cancer                                            1.00                           0.49 (0.29 0.83)                0.24 (0.10 0.59)

   Duration of exposure                                     <1 y                              1 to <3 y                         3+ y

   Ovarian cancer                                           1.00                           1.46 (0.13 1.66)                0.27 (0.06 1.20)
   Cervical cancer                                          1.00                           0.26 (0.06 1.17)                0.61 (0.21 1.73)
   Uterine cancer                                           1.00                           0.75 (0.23 2.42)                0.17 (0.02 1.33)
   Breast cancer                                            1.00                           0.79 (0.46 1.34)                1.15 (0.72 1.84)
                               b
   Live with asbestos worker                                No                                   Yes

   Ovarian cancer                                           1.00                           0.38 (0.13 1.15)
   Cervical cancer                                          1.00                           0.39 (1.13 1.17)
   Uterine cancer                                           1.00                           1.55 (0.34 7.08)
   Breast cancer                                            1.00                           0.77 (0.48 1.27)
                 b
   Wash clothes                                             No                                   Yes                          Unknown

   Ovarian cancer                                           1.00                           0.40 (0.09 1.75)                1.30 (0.37 4.57)
   Cervical cancer                                          1.00                           1.28 (0.37 4.41)                0.72 (0.14 3.76)
   Uterine cancer                                           1.00                           0.43 (0.11 1.62)                0.73 (0.17 3.06)
   Breast cancer                                            1.00                           0.66 (0.39 1.14)                1.01 (0.58 1.77)

   Former ABA worker                                        No                                   Yes

   Ovarian cancer                                           1.00                           1.01 (0.29 3.55)
   Cervical cancer                                          1.00                           2.30 (0.87 6.11)
   Uterine cancer                                           1.00                           0.64 (0.14 2.87)
   Breast cancer                                            1.00                           0.86 (0.49 1.50)

   NOTE: Nested case control, cases, and noncases matched on age. Odds ratio (95% CI).
   *P < 0.05.
   cP < 0.01.
   bResidents only.


   occurred in those earlier studies that reported excess                      numbers of asbestos fibers in the ovaries of 9 of 13
   mortality from ovarian cancer, our not finding any                          women with household asbestos exposure. Three women
   misclassification of peritoneal mesotheliomas may con-                      had asbestos fiber counts over 1 million fibers per gram
   tribute to why we also failed to find any excess risk for                   wet weight. Six of 17 women with no reported history of
   ovarian cancer in this cohort.                                              asbestos exposure had significant amounts of asbestos
      Experimental studies have shown that injection of                        fiber detected in their ovaries. The authors concluded
   asbestos fibers (tremolite) into the peritoneal cavity                      that particulate matter can reach the peritoneal cavity via
   produced epithelial changes in the ovaries of guinea                        the transvaginal route and that sexual contact with a
   pigs and rabbits, similar to those seen in early ovarian                    male contaminated with asbestos fibers may introduce
   cancer patients (33). Heller et al. (11) found significant                  those fibers into the vagina and subsequently to the


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      ovaries (11). However, this sexual contact hypothesis has       largely transient. Sociodemographic factors such as low
      generally not been supported by the results shown here          socioeconomic status and related lifestyle risk factors of
      from the Wittenoom women. Women who reported                    parity, number of sexual partners, age at first childbirth,
      washing the clothes of an Australian Blue Asbestos              tobacco smoking, and human papilloma virus may be
      worker were more likely to be sexual partners of                largely responsible for the cancer incidence patterns
      Australian Blue Asbestos workers. No particular excesses        observed in this cohort (38-40).
      for any of the cancers examined were observed among                Twenty-two percent of the women were lost to follow-
      this group or among those who reported living with an           up, most from the time they left Wittenoom. Western
      Australian Blue Asbestos worker.                                Australian marriage, birth, and death records were
         Occupational exposure to asbestos has also been              searched to identify any name changes and to improve
      associated with excess mortality from cervical cancer.          follow-up. However, follow-up was more difficult
      Cervical cancer mortality was increased, but not statis-        among women who were not living in Western Australia
      tically significantly, among World War II gas mask              subsequent to leaving Wittenoom. Cancer incidence was
      workers (1, 2). Another cohort of gas mask workers              available to the end of 2006 for women in Western
      exposed to chrysotile reported nonsignificant excesses of       Australia, but only until 1997 for Victoria, the second
      cervical cancer mortality (2), and nonstatistically signif-     most populous Australian state, or 2002 for the remain-
      icant excesses of cervical cancer have also been reported       ing states and territories. In the same vein, we do not
      among asbestos textile and cement manufacturers but             know how complete our cancer records are before 1982
      again with no consistent association with asbestos              when the cancer registries were established. In addition,
      exposure (6, 10). Among women compensated for                   former male Australian Blue Asbestos workers who
      asbestosis in Italy there was an increased risk for uterine     returned to Italy have been traced but not their wives or
      cancer, but the authors did not distinguish between             families (41, 42). Consequently the results of this study
      cervix and corpus and could not examine exposure-               may underestimate the number of gynecologic and
      response relationships (7). The present study has the           breast cancers that have occurred among the Wittenoom
      advantage of examining cancer incidence rather than             women.
      mortality, with mortality reflecting risk and survival,            A further limitation of this study was its inability to
      whereas incidence reflects the risk for disease. A              account for individual and lifestyle factors that may
      nonstatistically significant excess incidence of cervical       influence the incidence of gynecologic cancers. Follow-
      cancer among former Australian Blue Asbestos workers            up of the Wittenoom women was passive via cancer and
      has been found in the present study, but this was based         mortality registers and does not provide any information
      on only three cases. Former Australian Blue Asbestos            about childbearing, use of oral contraceptives, age of
                                                                      menarche or menopause, tubal ligation, or presence of
      workers had a 2-fold risk for cervical cancer compared
                                                                      human papilloma virus. These factors are not confound-
      with former residents.
                                                                      ers as they are unlikely to be associated with asbestos
         Excess mortality from breast cancer has not been
                                                                      exposure, although they are independent risk factors.
      found in most of the studies that examined the mortality
                                                                      These factors have not been adjusted for in the creation of
      of women occupationally exposed to asbestos (1, 2, 4, 7).
                                                                      the expected rates using the Western Australian age-
      The only study to suggest any association found a
                                                                      adjusted female population, so lacking this information
      nonsignificant excess (P = 0.08) among women factory
                                                                      should not overestimate our risk estimates.
      workers with severe exposure of z2 years’ duration (10).
      Consistent with this, excess incidence of breast cancer            Conclusion. Among the Wittenoom women there was
      has not been found among the former Wittenoom                   no consistent evidence of an increased risk for gyneco-
      workers, and except an inverse relationship with time           logic and breast cancers compared with the Western
      since first exposure, no other exposure-response relation-      Australian population. Ovarian cancers and peritoneal
      ships were confirmed.                                           mesotheliomas have not been misclassified in this cohort.
         Among women exposed environmentally or domesti-
      cally to asbestos, only a few studies have reported             Disclosure of Potential Conflicts of Interest
      mortality or incidence from causes other than mesothe-          No potential conflicts of interest were disclosed.
      lioma or lung cancer (34). Excess mortality (but not
      significant statistically) from ovarian cancer was reported
                                                                      Acknowledgments
      among the wives of asbestos factory workers. Reduced
                                                                      The costs of publication of this article were defrayed in part by
      risks for uterine and breast cancer were also reported
                                                                      the payment of page charges. This article must therefore be
      (35). The associations did not change with longer follow-       hereby marked advertisement in accordance with 18 U.S.C.
      up (36). Crude death rates were similar for breast and          Section 1734 solely to indicate this fact.
      cervical cancer mortality among residents of Da-yao,              We thank Janice Hansen, Tim Threlfall of the Western
      China, exposed to surface crocidolite and a comparison          Australian Cancer Registry, Jan Sleith, Nola Olsen, and Robin
      group located 200 km away. Ovarian cancer was not               Mina.
      examined (37). Among the former Wittenoom residents,
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Gynecologic and Breast Cancers in Women After Exposure
to Blue Asbestos at Wittenoom
Alison Reid, Amanda Segal, Jane S. Heyworth, et al.

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